                 UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                           AT GREENEVILLE



UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )             NO. 2:03-CR-62
                                                    )
                                                    )
TREVIS LOVE                                         )


                                       ORDER

             This criminal matter is before the Court to address the Motion for

Judgment of Acquittal filed after the jury’s verdict in this case. [Doc. 553]. On

November 3, 2004, the defendant was found guilty by a jury of Count 1 of the

indictment which charged him with a conspiracy to distribute and to possess with the

intent to distribute 5 kilograms or more of cocaine. The Court will address each of

the defendant’s theories in support of his acquittal separately.



1. GOVERNMENT DID NOT PROVE A CONSPIRACY.

             A motion for judgment of acquittal challenges the sufficiency of the evidence

to support the conviction. United States v. King, 169 F.3d 1035, 1038 (6th Cir.). This

court must determine whether, "after viewing the evidence in the light most favorable to

the prosecution, any rational trier of fact could have found the essential elements of the

crime beyond a reasonable doubt." United States v. Landham, 251 F.3d 1072, 1083 (6th
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Cir.2001) (quoting Jackson v. Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560

(1979)). In doing so, all available inferences and credibility issues are resolved in favor

of the jury's verdict. United States v. Salgado, 250 F.3d 438, 446 (6th Cir.2001).

             Based upon the testimony of Gorge Duarte and Eric Serna, based upon the

exhibits in this case, which included a “drug ledger”, and after viewing this evidence in

the light most favorable to the prosecution, the Court FINDS that any rational trier of fact

could have found the essential elements of the crime of conspiracy beyond a reasonable

doubt.



2. IMPERMISSIBLE INFERENCES- 1994 CONVICTION

             Although the defendant contends that his 1994 sale of cocaine conviction had

no connection to the conspiracy charge in this case, the Court permitted the introduction

of the conviction as Rule 404(b) evidence on the issue of intent. As with all admitted

evidence of prior bad acts, this Court may assume that some prejudice potentially occurred

when the testimony concerning the prior drug transaction was admitted. However, this

Court gave a strong cautionary instruction about the limited permissible use of this

evidence when it was admitted, and during the general jury instructions the Court gave the

following instruction:

             You have heard evidence here that the defendants Delman
             Davis and Trevis Love engaged in a criminal act other than
             those specified in the indictment in this case. You may not

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             consider this evidence to prove the proposition that merely
             because they may have engaged in those acts they did the acts
             that they are on trial here for.

             You may consider the other criminal conduct only for the
             purpose of determining the issues of whether the defendants
             had the requisite intent to commit the conspiracy alleged in the
             indictment. Remember that the defendants are on trial here
             only for the acts alleged in the indictment and not for any other
             acts and they should not be convicted unless you find that the
             government has proved beyond a reasonable doubt that the
             defendants knowingly committed the acts charged in the
             indictment in this case.
             This Court must presume that the jury follows a court's curative

instructions absent an overwhelming probability that it would be unable to do so. United

States v. Moreno, 933 F.2d 362, 368 (6th Cir.1991); United States v. Benson, 2005 WL

773953, (6th Cir.(Mich.) (Not selected for publication in the Federal Reporter). This

Court sees no reason to assume that the jury did not follow the Court’s curative

instructions but rather used the defendant’s 1994 conviction for an impermissible

inference of guilt.



      3. FALSE TESTIMONY BEFORE THE GRAND JURY.

             Even assuming that the defendant is correct in his assertions about the

government's misconduct before the grand jury, he is not entitled to an acquittal. "[A]ny

error by the prosecution before the grand jury is harmless [where the defendant is]

subsequently convicted by the petit jury." United States v. Cobleigh, 75 F.3d 242, 251 (6th


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Cir.1996). Here, the petit jury convicted the defendant, and therefore, he is entitled to no

relief based on alleged irregularities in the grand jury proceedings.



      4. GOVERNMENT FAILED TO PROVE A NET WORTH CASE.

             The fact that the government did not prove a net worth case is immaterial

because showing the defendant’s involvement in illegal activity by proving net worth was

never the government’s theory of the case.



      5. VERDICTS AGAINST DAVIS AND LOVE ARE INCONSISTENT

             The defendant contends that he should be acquitted of a conspiracy

involving over 5 kilograms of cocaine because his co-defendant Delman Davis was

acquitted of that charge. However, this Court instructed the jury that it was their duty to

separately consider the evidence against each defendant and return a separate verdict for

each one. The “drug ledger” which was filed as an exhibit in this case attributed a

greater quantity of drugs to the defendant than to Davis. Accordingly, based upon the

Court’s instructions, the jury was justified in returning a verdict that attributed a

greater quantity of drugs to the defendant than to Davis.



CONCLUSION

             Based upon the foregoing reasons, it is hereby ORDERED that the

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defendant’s motion for acquittal is DENIED.

           ENTER:

                                               s/J. RONNIE GREER
                                           UNITED STATES DISTRICT JUDGE




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